          Case 5:23-md-03087-BLF Document 81 Filed 02/26/24 Page 1 of 9




 1    BAILEY COWAN HECKAMAN PLLC
 2    Robert W. Cowan (admitted pro hac vice)
      rcowan@bchlaw.com
 3
      1360 Post Oak Blvd., Suite 2300
 4    Houston, TX 77056
      Telephone: 713-425-7100
 5    Facsimile: 713-425-7101
      onewheel@bchlaw.com
 6

 7    MORGAN & MORGAN

 8    Rene F. Rocha (admitted pro hac vice)
      COMPLEX LITIGATION GROUP
 9    400 Poydras St., Suite 1515
      New Orleans, LA 70130
10    rrocha@ForThePeople.com
      P: (954) 318-0268
11    F: (954) 327-3018

12    Plaintiffs’ Interim Lead Counsel

13    Additional parties and counsel listed on
      signature pages.
14

15                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
16                                     SAN JOSE DIVISION
17 IN RE: FUTURE MOTION, INC.                            No.: 23-md-03087-BLF
18 PRODUCTS LIABILITY LITIGATION
                                                         PLAINTIFFS’ PROPOSED
19 ________________________________________              ORGANIZATION AND LEADERSHIP
                                                         APPOINTMENTS
20 This document relates to:

21 ALL ACTIONS

22
            Personal injury/wrongful death Plaintiffs (“PIWD Plaintiffs”) have had the opportunity to
23
     discuss the organization and formation of leadership and internally request appointment thereto.
24
     PIWD Plaintiffs uniformly intend to establish a balanced leadership team, which reflects diversity of
25
     all types and is composed of individuals capable of steering this litigation to resolution. PIWD
26

27 Plaintiffs recognize that their leadership should include attorneys with demonstrated capacity, skill,

28 reputation, and financial resources to fairly, effectively, and efficiently lead this MDL. They also

     No.: 23-md-03087-BLF
           PLAINTIFFS’ PROPOSED ORGANIZATION AND LEADERSHIP APPOINTMENTS
          Case 5:23-md-03087-BLF Document 81 Filed 02/26/24 Page 2 of 9




 1 recognize the importance of their leadership to reflect a diversity of legal talent in terms of education,

 2 background, experience, and demographics. With those considerations in mind, the undersigned

 3
     submit this Proposed Organization and Leadership Appointment, and would respectfully show the
 4
     Court as follows:
 5
     I.     PIWD Plaintiffs’ Co-Lead Counsel
 6

 7          A.      Appointment.       PIWD Plaintiffs propose Robert W. Cowan of Bailey Cowan

 8 Heckaman PLLC and Rene F. Rocha of Morgan & Morgan to serve as PIWD Plaintiffs’ Co-Lead

 9 Counsel. A copy of their curricula vitae and/or declaration is attached hereto as Exhibits A and B for

10 the Court’s review.

11
            B.      Responsibilities of PIWD Plaintiffs’ Co-Lead Counsel. Messrs. Cowan and Rocha,
12
     as Plaintiffs’ Co-Lead Counsel, shall have the following duties and responsibilities:
13
            1.      Serve as liaison with the Court for all PIWD Plaintiffs during these coordinated pretrial
14

15 proceedings in response to any inquiries by the Court or opposing counsel, subject to the right of any

16 plaintiff’s counsel to present non-repetitive individual or different positions, as long as the presentation

17 does not unduly delay the proceedings.

18
            2.      Make or submit any oral or written motions to the Court on behalf of the PIWD
19
     Plaintiffs, as well as oppose, when necessary, any motions submitted by Defendant involving matters
20
     within the Lead Counsel’s sphere of responsibilities (except as to matters specifically directed to
21
     individual Plaintiffs and their counsel).
22

23          3.      Negotiate and enter into stipulations with the Defendant regarding the litigation. All

24 stipulations entered into by Lead Counsel, except for strictly administrative details such as scheduling,

25 must be submitted for Court approval and will not be binding until the Court has ratified the stipulation.

26
            4.      Chair the Executive Committee.
27

28

     No.: 23-md-03807-BLF               –2–
           PLAINTIFFS’ PROPOSED ORGANIZATION AND LEADERSHIP APPOINTMENTS
           Case 5:23-md-03087-BLF Document 81 Filed 02/26/24 Page 3 of 9




 1          5.      Convene meetings of the Executive Committee for the purpose of proposing joint
 2 action and discussing and resolving matters of common concern.

 3
            6.      Coordinate discovery on behalf of the PIWD Plaintiffs consistent with the requirements
 4
     of Fed. R. Civ. P. 26 and in conjunction with the Executive Committee and Steering Committee.
 5
            7.      Consult with and employ expert witnesses on behalf of the PIWD Plaintiffs consistent
 6

 7 with the requirements of Fed. R. Civ. P. 26 and in conjunction with the Executive Committee and

 8 Steering Committee.

 9          8.      Delegate specific tasks to other counsel or designated committees, in a manner that
10 ensures that the PIWD Plaintiffs’ pretrial preparation is conducted effectively, efficiently, and

11
     economically. Monitor the activities of co-counsel to ensure that schedules are met and unnecessary
12
     expenditures of time and funds are avoided.
13
            9.      Explore, develop, and pursue all settlement options pertaining to any claim or portion
14

15 thereof in any case filed in this litigation.

16          10.     Attend status and case management conferences, including preconference meetings

17 with the Court and opposing counsel.

18
            11.     Ensure that court orders are followed, schedules are met, discovery is conducted
19
     consistent with the requirements of Fed. R. Civ. P. 26, unnecessary expenditures of time and funds are
20
     avoided, and any negotiations are reasonably efficient and productive.
21
            12.     Perform any task necessary to carry out the functions of Lead Counsel to properly
22

23 coordinate the Plaintiffs’ pretrial activities.

24          13.     Perform any other functions as may be expressly authorized and/or required by this
25 Court.

26
     II.    PIWD Plaintiffs’ JCCP-MDL Liaison Counsel
27

28

     No.: 23-md-03807-BLF               –3–
           PLAINTIFFS’ PROPOSED ORGANIZATION AND LEADERSHIP APPOINTMENTS
          Case 5:23-md-03087-BLF Document 81 Filed 02/26/24 Page 4 of 9




 1          A.      Appointment. PIWD Plaintiffs propose Anya Fuchs of Pearce Lewis LLP to serve as
 2 PIWD Plaintiffs’ JCCP-MDL Liaison Counsel. A copy of Ms. Fuchs’ curricula vitae is attached

 3
     hereto as Exhibit C for the Court’s review.
 4
            B.      Responsibilities of JCCP-MDL Liaison Counsel. Ms. Fuchs, as JCCP-MDL Liaison
 5
     Counsel, shall have the following responsibilities:
 6

 7          1.      Serve as an ambassador amongst and between the members of Plaintiffs’ JCCP

 8 leadership and the members of Plaintiffs’ MDL leadership for the purpose and objective of aligning

 9 and guiding the group towards making decisions with both coordinated proceedings in mind and, when

10 appropriate and desirable, to correlate and combine efforts to preclude duplicative work product that

11
     will result in unnecessary costs and an undue consumption of time.
12
            2.      Propose, when appropriate, that efforts in one coordinated proceeding be adopted or
13
     utilized in the other coordinated proceeding. By way of example, JCCP-MDL Liaison Counsel could
14

15 propose the same Plaintiff Fact Sheet be employed in both proceedings (as has already occurred), that

16 the same or similar offensive discovery be employed in both proceedings (substantively and

17 procedurally), that depositions of Defendant’s executives that are taken in one coordinated proceeding

18
     be available for use in the other coordinated proceeding, that documents and other information
19
     produced in one coordinated proceeding be available for use in the other coordinated proceeding.
20
            3.      Provide periodic reports regarding the status of the JCCP to PIWD Plaintiffs’ MDL
21
     leadership and to this Court and, likewise, provide periodic reports regarding the status of the MDL to
22

23 Plaintiffs’ JCCP leadership and the presiding Judge of JCCP No. 5305.

24          4.      Attend and participate in Executive Committee meetings with PIWD Co-Lead Counsel.
25 III.     PIWD Plaintiffs’ Executive Committee
26
            A.      Appointment. PIWD Plaintiffs propose Cameron Bell of Oliver Law Group P.C., Eli
27
     J. Hare of Dicello Levitt LLP, Michael K. Johnson of Johnson Becker PLLC, Lowell P. McKelvey of
28

     No.: 23-md-03807-BLF               –4–
           PLAINTIFFS’ PROPOSED ORGANIZATION AND LEADERSHIP APPOINTMENTS
          Case 5:23-md-03087-BLF Document 81 Filed 02/26/24 Page 5 of 9




 1 McKelvey Law LLC, and Megan L. Roper of Bailey Cowan Heckaman PLLC to serve as PIWD

 2 Plaintiffs’ Executive Committee. A copy of Messrs. Bell, Hare, Johnson, McKelvey, and Ms. Roper’s

 3
     curricula vitae are attached hereto as Exhibits D, E, F, G, and H for the Court’s review.
 4
            B.      Responsibilities of PIWD Plaintiffs’ Executive Committee. Messrs. Bell, Hare,
 5
     Johnson, McKelvey, and Ms. Roper, as members of PIWD Plaintiffs’ Executive Committee, shall
 6

 7 have the following responsibilities:

 8          1.      Coordinate and oversee the activities of PIWD Plaintiffs’ counsel during these

 9 consolidated pretrial proceedings, as well as monitor and ensure that work conducted by PIWD

10 Plaintiffs’ counsel is reasonably necessary and avoids unnecessary costs and duplication of effort.

11
            2.      Determine (after consultation with the Steering Committee and other plaintiffs’
12
     counsel, as appropriate) the PIWD Plaintiffs’ position on all matters arising during pretrial
13
     proceedings.
14

15          3.      Coordinate the selection and management of any common issue and/or bellwether

16 discovery and trials.

17          4.      Schedule meetings of counsel for PIWD Plaintiffs, committees, and subcommittees for
18
     any appropriate purpose, including coordinating responses to questions of other parties or of the Court.
19
     Maintain minutes or transcripts of these meetings.
20
            5.      Maintain adequate time and disbursement records covering common benefit work of
21
     designated counsel and establish guidelines, for approval by the Court, as to the keeping of time
22

23 records and expenses.

24          6.      Perform any other task deemed necessary and proper for the Executive Committee to
25 accomplish its responsibilities as defined by the Court’s orders.

26
            7.      Attend and participate in Executive Committee meetings with PIWD Co-Lead Counsel.
27

28

     No.: 23-md-03807-BLF               –5–
           PLAINTIFFS’ PROPOSED ORGANIZATION AND LEADERSHIP APPOINTMENTS
           Case 5:23-md-03087-BLF Document 81 Filed 02/26/24 Page 6 of 9




 1 IV.      PIWD Plaintiffs’ Steering Committee
 2          A.      Appointment. PIWD Plaintiffs propose Matthew K. Felty of Lytle Soule & Felty P.C.,
 3
     Aaron M. Heckaman of Bailey Cowan Heckaman PLLC, Michael M. Gallagher Morgan & Morgan,
 4
     and Hayden N. Wyatt of Bailey Cowan Heckaman PLLC to serve as PIWD Plaintiffs’ Steering
 5
     Committee. A copy of Messrs. Felty, Heckaman, Gallagher, and Wyatt’s curricula vitae are attached
 6

 7 hereto as Exhibits I, J, K, and L for the Court’s review.

 8          B.      Responsibilities of PIWD Plaintiffs’ Steering Committee.                 Messrs. Felty,

 9 Heckaman, Gallagher, and Wyatt, as members of PIWD Plaintiffs’ Steering Committee, shall have the

10 following responsibilities:

11
            1.      Initiate, coordinate, and conduct all pretrial discovery on behalf and for the benefit of
12
     all Plaintiffs in the actions consolidated in this MDL.
13
            2.      Develop and propose schedules for the initiation, conduct, and completion of all
14

15 discovery on behalf of all Plaintiffs.

16          3.      Cause to be issued in the name of all PIWD Plaintiffs the necessary discovery requests,

17 motions, and subpoenas pertaining to any witnesses and documents needed to properly prepare for the

18
     pretrial discovery of relevant issues found in the pleadings of this litigation.
19
            4.      Schedule meetings of counsel for PIWD Plaintiffs for any appropriate purpose,
20
     including coordinating responses to questions of other parties or of the Court. Maintain minutes or
21
     transcripts of these meetings.
22

23          5.      Prepare periodic status reports summarizing the Steering Committee’s work and

24 progress. These reports must be submitted to Co-Lead Counsel and the Executive Committee.

25          6.      Assemble and prepare “trial packages” that can be used in future cases, including cases
26
     that are remanded to transferor courts for trial.
27

28

     No.: 23-md-03807-BLF               –6–
           PLAINTIFFS’ PROPOSED ORGANIZATION AND LEADERSHIP APPOINTMENTS
          Case 5:23-md-03087-BLF Document 81 Filed 02/26/24 Page 7 of 9




 1          7.     Perform any other task deemed necessary and proper for the Steering Committee to
 2 accomplish its responsibilities as defined by the Court’s orders.

 3
     Dated: February 26, 2024                    Respectfully submitted,
 4

 5                                               By: /s/ Robert W. Cowan

 6                                               BAILEY COWAN HECKAMAN PLLC
                                                 Robert W. Cowan (admitted pro hac vice)
 7                                               Aaron M. Heckaman (admitted pro hac vice)
 8                                               1360 Post Oak Blvd., Suite 2300
                                                 Houston, TX 77056
 9                                               Telephone: 713-425-7100
                                                 Facsimile: 713-425-7101
10                                               aheckaman@bchlaw.com
                                                 rcowan@bchlaw.com
11

12                                               Attorneys for Plaintiffs Ron Bunnell, on behalf of the
                                                 Estate of Carl Joseph Bunnell, deceased, Barclay
13                                               Bunnell, Misty Odeen, as next friend and representative
                                                 of Maxwell Bunnell, a minor, Darryl Martin John
14                                               Oatridge, and Bridget Oatridge
15
                                                 -and-
16
                                                 MORGAN & MORGAN
17                                               Rene F. Rocha (pro hac vice anticipated)
                                                 COMPLEX LITIGATION GROUP
18                                               400 Poydras St., Suite 1515
                                                 New Orleans, LA 70130
19                                               rrocha@ForThePeople.com
                                                 P: (954) 318-0268
20                                               F: (954) 327-3018

21                                               Attorney for Jason Bailey, Christopher Delapaz,
                                                 Schuyler Elliot, Brandon Greer, Michael Haggerty,
22                                               Orlando Lopez-Roman, Ralph Nacca, Ian Quincannon,
                                                 Jonathan Reeves, Kevin Roesler, Joel Thomas
23

24

25

26

27

28

     No.: 23-md-03807-BLF               –7–
           PLAINTIFFS’ PROPOSED ORGANIZATION AND LEADERSHIP APPOINTMENTS
         Case 5:23-md-03087-BLF Document 81 Filed 02/26/24 Page 8 of 9




 1   Anya Fuchs                                       Cameron Bell (admitted pro hac vice)
     PEARCE LEWIS LLP                                 Oliver Bell Group
 2   423 Washington Street, Suite 510                 50 W. Big Beaver Rd., Suite 200
     San Francisco, CA 94111                          Troy, MI 48084
 3
     Telephone: 415-964-5225                          Tel: 248-327-6556
 4   Facsimile: 415-830-9879                          Fax: 248-436-3385
     Email: anya@pearcelewis.com                      cbell@oliverlawgroup.com
 5
     Attorneys for Darryl Martin John Oatridge, and   Attorney for Thomas Nemeth
 6   Bridget Oatridge
 7   Aaron M. Heckaman (admitted pro hac vice)        Michael K. Johnson (admitted pro hac vice)
     Megan L. Roper (pro hac vice forthcoming)        JOHNSON BECKER, PLLC
 8                                                    444 Cedar Street, Suite 1800,
     Hayden N. Wyatt (pro hac vice forthcoming)
                                                      St. Paul, MN 55101
 9   BAILEY COWAN HECKAMAN PLLC                       (612) 436-1800 / (612) 436-1801 (f)
     1360 Post Oak Blvd., Suite 2300
10   Houston, TX 77056                                Attorney for Matthew Boston, Jonathan Burke,
     Telephone: 713-425-7100                          and Christopher Emmel
11   Facsimile: 713-425-7101
12   aheckaman@bchlaw.com
     mroper@bchlaw.com
13   hwyatt@bchlaw.com

14   Attorneys for Darryl Martin John Oatridge, and
     Bridget Oatridge
15
     Eli J. Hare (pro hac vice anticipated)           Lowell P. McKelvey (admitted pro hac vice)
16                                                    MCKELVEY LAW LLC
     Dicello Levitt LLP
     505 20th Street North, Suite 1500                1205 NW 25th Avenue,
17                                                    Portland, Oregon 97210
     Birmingham, Alabama 35203                        lowell@mckelveylaw.com
18   Tel: 205-855-5700                                Phone: (503) 349-7535
     ehare@dicellolevitt.com                          Fax: (971) 357-2142
19
     Attorney for Caleb Metts                         Attorney for Plaintiff Keith Gregie, John
20                                                    Scherschel, and Bryan Reedy,
21

22

23

24

25

26

27

28

     No.: 23-md-03807-BLF               –8–
           PLAINTIFFS’ PROPOSED ORGANIZATION AND LEADERSHIP APPOINTMENTS
         Case 5:23-md-03087-BLF Document 81 Filed 02/26/24 Page 9 of 9




 1   Matthew K. Felty (admitted pro hac   Michael M. Gallagher (pro hac vice forthcoming)
     vice)                                MORGAN & MORGAN
 2   LYTLE SOULÉ & FELTY, P.C.            20 N. Orange Ave., Suite 1600
                                          Orlando, Florida 32801
     1200 Robinson Renaissance            Phone: (689) 219-2333
 3
     119 N. Robinson Ave.                 Facsimile: (689) 219-2363
 4   Oklahoma City, OK 73102              E-mail: michaelgallagher@forthepeople.com
     (405) 235-7471 (Telephone)
 5   (405) 232-3852 (Facsimile)
     mkfelty@lytlesoule.com
 6

 7   Attorney for Plaintiff Grant Downs

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     No.: 23-md-03807-BLF               –9–
           PLAINTIFFS’ PROPOSED ORGANIZATION AND LEADERSHIP APPOINTMENTS
